                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2022-NCCOA-204

                                       No. COA20-864

                                      Filed 5 April 2022

     New Hanover County, No. 19CVS1562

     SUSAN B. HALL, Plaintiff,

                  v.

     WILMINGTON HEALTH, PLLC, Defendant.


           Appeal by defendant from order entered 14 July 2020 by Judge J. Stanley

     Carmical in Superior Court, New Hanover County. Heard in the Court of Appeals 7

     September 2021.


           Reiss &amp; Nutt, PLLC, by Kyle J. Nutt, for plaintiff-appellee.

           Walker, Allen, Grice, Ammons, Foy &amp; Klick, LLP, by Norman F. Klick, Jr. and
           Jerry A. Allen, Jr., and Robinson, Bradshaw &amp; Hinson, P.A., by Robert E.
           Harrington, for defendant-appellant.


           STROUD, Chief Judge.


¶1         This case involves a discovery order intended to address concerns regarding

     safety and travel during the COVID-19 pandemic. The issue here arose at the very

     start of the pandemic, and since then, judges and attorneys have learned a great deal

     about COVID-19, proceedings by remote video-conference, and juggling the ever-

     changing guidelines, emergency orders, and recommendations regarding COVID-19.

     Hindsight is 20/20, and we recognize this Court has the benefit of hindsight but the
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     trial court did not. Instead, the trial court was dealing with a discovery dispute in

     the context of an unprecedented public health emergency. But the Courts “shall be

     open” and the Constitution is not suspended by any pandemic or emergency

     directives.

¶2         Defendant, Wilmington Health, appeals from the trial court’s order requiring

     all depositions to be taken by “remote videoconferencing in separate locations from

     the witness” and that “no counsel shall be physically present with the witness at any

     deposition.” Under the Rules of Civil Procedure, the trial court generally has broad

     discretion in resolving discovery disputes and entering orders limiting or setting

     guidelines for discovery, but here, the trial court’s order went beyond the relief

     requested by Plaintiff, Susan Hall, and imposed a limitation upon depositions of all

     witnesses which would also prevent Defendant’s counsel from being present in person

     at depositions of Defendant’s own witnesses and employees.

¶3         This wholesale ban on personal attendance of Defendant’s counsel at

     depositions of its own employees and witnesses presented the constitutional issue

     Defendant asserts in this appeal and was not supported by existing law, emergency

     orders, or evidence. The trial court’s order violated Defendant’s constitutional right

     by prohibiting counsel from being physically present at depositions of its own

     employees and witnesses. We reverse and remand for further proceedings.

                                     I.      Background
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¶4         This appeal arises from a discovery dispute in a medical malpractice action.

     On 29 April 2019, Plaintiff filed a complaint against Defendant alleging medical

     malpractice as defined by North Carolina General Statute § 90-21.11(2) (2017),

     asserting claims of negligence, gross negligence, and punitive damages, arising from

     Defendant’s alleged failure to timely diagnose skin cancer. Plaintiff alleged the delay

     in diagnosis and treatment of her cancer reduced her life expectancy. The issue

     presented here arises from the procedural history of the case and specifically from

     limitations placed upon depositions in the case, so we focus on that procedural

     history.

¶5         The trial court held a hearing regarding the discovery schedule in October 2019

     and rendered its ruling regarding the deadlines for the Discovery Scheduling Order

     (“DSO”) at the same time, but the DSO was not entered until 17 January 2020.

     Despite the delay in the issuance of the written order, the parties began complying

     with the schedule as set forth by the trial court in October 2019 prior to formal entry

     of the order.   For example, the DSO required Plaintiff to designate her expert

     witnesses on or before 4 January 2020, and Plaintiff designated them on 3 January

     2020. Under the DSO, the deadline for depositions of Plaintiff’s expert witnesses was

     4 March 2020. Due initially to scheduling conflicts for Defendant’s counsel, the

     depositions of Plaintiff’s designated experts did not take place by the 4 March 2020

     deadline with Plaintiff instead offering the expert’s availability on 27 May 2020.
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¶6          By early March, 2020, the COVID-19 pandemic reached our shores, abruptly

     changing daily life and even the legal system’s processes.             On 10 March 2020,

     Governor Roy Cooper entered Executive Order No. 116, the first of many emergency

     orders entered in response to the COVID-19 pandemic.1 This order declared a state

     of emergency under North Carolina General Statute § 166A-19.3(6) and (19) based on

     “the public health emergency posed by COVID-19,” and also pertinently: (1) created

     the “Governor’s Novel Coronavirus Task Force on COVID-19”; (2) authorized state

     agencies to “cancel, restrict or postpone travel of state employees as needed to protect

     the wellbeing of others”; (3) ordered state and local health authorities to “implement

     public health surveillance and control measures” for people who “have been diagnosed

     with or are at risk of contracting COVID-19 in order to control or mitigate spread of

     the disease”; and (4) took a variety of other measures to secure and allocate resources

     to combat the spread of COVID-19 in the state. E.O. 116, Cooper, 2020, § 1 (state of

     emergency), § 10 (taskforce), § 11(b) (travel restrictions), § 12 (public health

     measures), §§ 5–9, 11(a), 13–22 (other measures). On 14 March 2020, Governor

     Cooper entered Executive Order No. 117, which, pursuant to his powers under North

     Carolina General Statute § 166A-19.30, prohibited “mass gatherings” of more than

     100 people in certain locations, closed schools, and encouraged social distancing, hand



     1 With the consent of the parties as noted during oral argument, we take judicial notice of the

     Executive Orders entered by Governor Roy Cooper.
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     washing and sanitizing, and the practice of “proper respiratory etiquette” in line with

     guidance from the Centers for Disease Control and Prevention (CDC). E.O. 117,

     Cooper, 2020, §§ 1–3.

¶7          On 1 June 2020, Plaintiff filed a motion to require depositions to be taken by

     telephonic or virtual means under North Carolina Rules of Civil Procedure 30(b)(7)

     and 26(c). Plaintiff based her motion upon the COVID-19 pandemic, specifically

     safety concerns regarding being in a room with several people for in-person

     depositions and the travel required to attend depositions.                Plaintiff alleged

     depositions were set for 21 July 2020 of Dr. Steven Feldman in Wake Forest, North

     Carolina, and for 30 July 2020 of Dr. Jeffery Wayne, in Chicago, Illinois. Plaintiff

     further alleged in-person depositions would require air travel, putting people in close

     proximity in rooms for extended periods of time, and that masks may impair

     questioning and transcription of testimony. Plaintiff also noted Chief Justice Cheri

     Beasley had encouraged virtual depositions.2 On 12 June 2020, Defendant moved to


     2 We have reviewed all the emergency directives issued by Chief Justice Beasley in effect on

     the 1 June 2020 filing date of Plaintiff’s motion (Emergency Directives 1 to 19), and we did
     not find any instance in which she encouraged virtual depositions. Order of the Chief Justice
     Extending and Modifying Emergency Directives 2 to 8 (30 May 2020); Order of the Chief
     Justice Emergency Directives 9 to 16 (21 May 2020); Order of the Chief Justice Emergency
     Directives 17 to 19 for Staying all Pending Evictions and Establishing New Mediation
     Program (30 May 2020); see also Order of the Chief Justice Extending Emergency Directives
     1 to 8 until May 30 (1 May 2020) (indicating Emergency Directive 1 would expire May 30 but
     the terms of the directive required rescheduling most court proceedings until no sooner than
     1 June 2020 or conducting them remotely). Rather, the emergency directives focused on
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     amend the Discovery Scheduling Order due to COVID-19 and responded to Plaintiff’s

     motion for virtual depositions. Defendant specifically noted the parties had already

     agreed the deadline for Defendant to identify its expert witnesses would be extended

     from 15 June 2020 to 15 August 2020.

¶8          On 9 July 2020, Defendant filed a response to Plaintiff’s motion for virtual

     depositions.    Defendant noted it had requested amendment of the Discovery

     Scheduling Order and alleged there would be sufficient time to do in-person

     depositions when pandemic restrictions were lifted. Defendant also highlighted that

     Rule 30 provides that attendance at a deposition may be compelled and a deponent

     may be required to attend a deposition only in the county of residence. In addition,

     Defendant contended none of the Chief Justice’s Emergency Directives prohibited

     standard in-person depositions. Defendant further noted civil jury trials were not

     being held and it was unknown when jury trials would resume, so the trial would not

     be able to proceed as scheduled on 8 February 2021.

¶9          By a remote videoconference hearing via WebEx, the trial court heard the

     Plaintiff’s motion for virtual depositions on 9 July 2020. At the hearing, Plaintiff’s



     remote court proceedings (Emergency Directives 1, 9), which are different because
     courthouses would bring more people together typically than a deposition. Order of the Chief
     Justice Extending Emergency Directives 1 to 8 until May 30 (1 May 2020); Order of the Chief
     Justice Emergency Directives 9 to 16 (21 May 2020). If Plaintiff was referring to
     encouragement by Chief Justice Beasley outside of the emergency directives, she did not
     include citation to such in her motion.
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       counsel noted his concerns regarding his personal health and potential exposure to

       COVID-19 as well as restrictions on travel.                 He also discussed the various

       technologies available for remote videoconferencing. As to the deposition scheduled

       in Chicago, he noted that restrictions on travel had recently been imposed, requiring

       travelers entering Chicago to quarantine for a period of 14 days.3 Plaintiff’s counsel

       also emphasized the need to proceed expeditiously with the case due to his contention

       Plaintiff’s life expectancy may be limited due to her skin cancer.

¶ 10          Defendant responded by noting Plaintiff’s medical records did not indicate she

       was unlikely to survive until the trial date and her recent evaluations were favorable,

       according to Defendant’s experts. He also noted depositions by videoconference in

       this case would be difficult due to the length of the depositions and need to refer to

       many exhibits. Defendant’s counsel then discussed the difficulty the parties had in

       scheduling Plaintiff’s deposition, which was delayed from April 2020 to July 2020



       3 We take judicial notice of Public Health Order No. 2020-10, Quarantine Restrictions on

       Persons Entering Chicago from High Case-Rate States, issued on 2 July 2020. As Plaintiff
       explained at the hearing, Public Health Order No. 2020-10 required anyone coming to
       Chicago from a “High Incidence State”—defined as “a COVID-19 new case rate greater than
       15 COVID-19 cases per 100,000 resident population per day, over a 7- day rolling average”—
       quarantine for 14 days or the duration of their time in Chicago, whichever was shorter.
       Public Health Order No. 2020-10, Quarantine Restrictions on Persons Entering Chicago from
       High Case Rate States, § 1. As of the 9 July 2020 hearing date, Plaintiff argued North
       Carolina counted as a High Incidence State, so any travelers to Chicago from North Carolina
       would be subject to the mandatory 14-day quarantine including the attorneys in this case if
       they traveled for an in-person deposition of Dr. Wayne. Our record does not include the North
       Carolina case rate statistics from July 2020, but Defendant does not dispute this
       characterization of the travel limitations at the time and we will assume it is correct.
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       because she was not feeling well in April. He indicated the case is factually complex,

       and considering the progression of the pandemic and cancellation of jury trials across

       the state, the case would not be able to be heard in February 2021 as scheduled.

       Defendant argued that in-person depositions have inherent benefits lacking in the

       videoconference setting: “There is definitely an advantage to evaluating someone by

       meeting them in person. I think that’s just common sense. If we all met our wives

       over a videoconference, things may have gone differently, and look what happened.”

¶ 11         After the hearing, the trial court rendered a ruling on both Plaintiff’s motion

       to hold depositions virtually and Defendant’s motion to amend the Discovery

       Scheduling Order. The trial court noted there were:

                    two separate issues: One is defendant’s motion to be able
                    to take the deposition telephonically or by virtual means --
                    the plaintiff’s motion, rather -- and then the defendant not
                    only responds that I should not allow that, but also that we
                    revisit the scheduling order.

       The trial court further explained:

                    I think the chief justice’s concern is that the Courts try to
                    accomplish more, and it seems to me, if nothing else,
                    there’s no reason for the depositions to be on hold. They can
                    be conducted remotely, safely, and, it seems to me, an
                    additional benefit is saving great expense for a number of
                    folks that would have to travel, be housed somewhere.
                    Even apart from the pandemic, though. If the witness came
                    from Chicago, that’s some expense. If the lawyers go there
                    or retain counsel in Illinois to depose the witness, that’s
                    going to involve expense.
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       The trial court then allowed Plaintiff’s motion for virtual depositions and ordered

       depositions by both parties would be taken by videoconference.               It also denied,

       without prejudice, Defendant’s motion to amend the Discovery Scheduling Order

       explaining, “I can’t predict what the pandemic is going to look like” so the court would

       consider revising the schedule based upon future developments.

¶ 12          Following its rulings at the hearing, the trial court issued its written order on

       the motions for remote depositions and to amend the DSO on 14 July 2020. The

       written order addressed a subject not raised before in the parties’ filings or at the

       hearing: whether deponents could have counsel present in-person with them. None

       of the previous filings and proceedings had mentioned any particular restrictions

       upon the deponent or limitation on the ability of a deponent to have counsel present

       at a deposition in person. Plaintiff’s motion did not request such a restriction. At the

       hearing, neither party addressed any limitations on counsel’s presence with a witness

       being deposed,4 and the trial court did not issue any ruling on this issue. Despite




       4 While Plaintiff’s counsel noted that in his experience the technology used for remote
       depositions has been “designed for one person to attend from a closed office, from their screen
       with a mike [sic] and a camera” as part of an argument about “technology logistical issues” if
       only he was remote but a witness and Defendant’s counsel were in the same room, Plaintiff
       ultimately concluded “[w]e’ve got to get the technology coordinated” where he could see
       Defendant’s counsel “and not to have that technology conflicting with each other.” Thus,
       Plaintiff’s counsel merely noted it may be technologically more difficult to have him as the
       only person remote rather than arguing for an order that everyone had to be separate.
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       that lack of prior mention of the subject, the trial court’s order barred physical

       presence of counsel with any witness as follows:

                    IT IS THEREFORE ORDERED, ADJUDGED, AND
                    DECREED that Plaintiff’s Motion to Require Depositions
                    be Taken by Telephonic or Virtual Means is GRANTED,
                    and all counsel shall appear at any and all depositions
                    solely by remote videoconferencing and counsel shall not
                    physically appear in the presence of the witness. The
                    witness shall also appear by remote videoconferencing
                    outside the physical presence of any counsel for any party.
                    This Order shall apply equally to all parties and their
                    counsel. Furthermore, all depositions by remote
                    videoconferencing methods shall afford audio and visual
                    interaction, with information to access and participate
                    provided in the Notice of Deposition.

       (Emphasis added.)        The same order also denied, without prejudice, Defendant’s

       motion to amend the DSO. Defendant filed notice of appeal on 10 August 2020.

                                        II.      Jurisdiction

¶ 13         Before reaching the merits of this case, we must address whether this court

       has jurisdiction to hear the appeal. See, e.g., Dogwood Development and Management

       Co., LLC v. White Oak Transport Co., Inc., 362 N.C. 191, 197, 657 S.E.2d 361, 364–

       65 (2008) (explaining an appellate court must have jurisdiction to hear an appeal).

       Because the order from which Defendant appeals is not a final order resolving all

       claims, it is interlocutory. See Veazey v. City of Durham, 231 N.C. 357, 361–62, 57

       S.E.2d 377, 381–82 (1950) (laying out the distinction between final judgments and

       interlocutory orders).
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¶ 14         While in general parties may not seek immediate appeal of an interlocutory

       order, they can appeal when the interlocutory order “affects some substantial right

       claimed by the appellant and will work an injury to him if not corrected before an

       appeal from the final judgment.” Department of Transp. v. Rowe, 351 N.C. 172, 174–

       75, 521 S.E.2d 707, 709 (1999) (quoting Veazey, 231 N.C. at 362, 57 S.E.2d at 381);

       see also N.C. Gen. Stat. § 1-277(a) (2019) (allowing appeal from every judicial order

       in district or superior court “which affects a substantial right claimed in any action

       or proceeding”); N.C. Gen. Stat. § 7A-27(b)(3)(a) (2019) (allowing appeal from any

       interlocutory order of a superior or district court in a civil proceeding that “[a]ffects a

       substantial right”).

¶ 15         Here, in its Rule of Appellate Procedure 28(b)(4) “Statement of Grounds for

       Appellate Review,” Defendant argues the order on appeal affects a substantial right

       and is therefore immediately appealable under North Carolina General Statutes §§

       1-277 and 7A-27(b)(3)(a) because the order deprives Defendant of its constitutional

       rights to due process and counsel and these rights will “be lost forever if uncorrected

       before appeal from final Judgment.”

¶ 16         Plaintiff filed a motion to dismiss the appeal on the grounds the order on appeal

       “is interlocutory, does not affect a substantial right, and is not immediately

       appealable.” In response to Plaintiff’s motion to dismiss and in the alternative to

       finding the order on appeal affects a substantial right, Defendant filed a petition for
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       writ of certiorari (“PWC”) under Rule of Appellate Procedure 21 to permit review.

       Defendant argues issuing the writ “will avoid undue delay, [and] promote judicial

       economy and the administration of justice . . . while preventing manifest injustice,

       avoiding unnecessary delays[,] and saving judicial resources.” Defendant later moved

       to amend the PWC to add two additional paragraphs emphasizing the novel nature

       of the order’s ban on all physical presence at depositions and addressing a

       preservation issue first raised in Plaintiff’s response brief.   Plaintiff’s motion to

       dismiss and Defendant’s PWC and motion to amend the PWC all turn on our decision

       as to jurisdiction, so we turn to that issue now.

¶ 17         The first issue affecting our jurisdiction is whether the order on appeal affects

       a substantial right; if it does, we have jurisdiction and need not reach Defendant’s

       PWC. A substantial right is “a legal right affecting or involving a matter of substance

       as distinguished from matters of form: a right materially affecting those interests

       which a man is entitled to have preserved and protected by law: a material right.”

       Oestreicher v. American Nat. Stores, Inc., 290 N.C. 118, 130, 225 S.E.2d 797, 805
       (1976) (quotations and citation omitted). To help apply that definition, “a two-part

       test has developed—the right itself must be substantial and the deprivation of that

       substantial right must potentially work injury to plaintiff if not corrected before

       appeal from final judgment.” Goldston v. American Motors Corp., 326 N.C. 723, 726,
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       392 S.E.2d 735, 736 (1990) (citing Wachovia Realty Investments v. Housing, Inc., 292

       N.C. 93, 232 S.E.2d 667 (1977)).

¶ 18         “Admittedly the ‘substantial right’ test for appealability of interlocutory orders

       is more easily stated than applied. It is usually necessary to resolve the question in

       each case by considering the particular facts of that case and the procedural context

       in which the order from which appeal is sought was entered.” Waters v. Qualified

       Personnel, Inc., 294 N.C. 200, 208, 240 S.E.2d 338, 343 (1978). Still, we do not need

       to decide whether the party claiming a substantial right would win on the merits; it

       is enough that a substantial right would be impacted if the party had to suffer the

       alleged harm. See Sharpe v. Worland, 351 N.C. 159, 164–65, 522 S.E.2d 577, 580–81

       (1999) (in a case where a party claimed statutory privilege as to certain documents,

       explaining the court, at the jurisdictional stage, did not need to determine whether

       the statutory privilege applied only whether it could apply).

¶ 19         Here, Defendant argues the trial court’s order impairs its due process right by

       preventing its attorney from being physically present at depositions of its own

       representative witnesses and experts. This Court has recognized “that civil litigants

       have a due process right to be heard th[r]ough counsel that they themselves provide.”

       Tropic Leisure Corp. v. Hailey, 251 N.C. App. 915, 920, 923–24, 796 S.E.2d 129, 133,

       135 (2017) (explaining the due process right has been widely recognized and then

       finding a due process violation when a litigant had no opportunity to be represented
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       by counsel in small claims court in a foreign jurisdiction). Since counsel at depositions

       represent clients by objecting to improper questions and protecting privileges, among

       other things, that due process right could apply here. Especially in the realm of

       privileges, which protect the other side from ever knowing the privileged information,

       see N.C. Gen. Stat. § 1A-1, Rule 26(b)(1) (stating privileged material is not even

       discoverable), Defendant could suffer harm—namely the inability to assert privilege

       and subsequent revelation of privileged information—if this order is not addressed

       before final judgment.

¶ 20         We have also previously recognized the “constitutional right to due process is

       a substantial right.” Savage Towing Inc. v. Town of Cary, 259 N.C. App. 94, 99, 814

       S.E.2d 869, 873 (2018). As a result, we find the order on appeal affects a substantial

       right in that it threatens Defendant’s constitutional due process rights. Therefore,

       we have appellate jurisdiction pursuant to North Carolina General Statutes §§ 1-

       277(a) and 7A-27(b)(3)(a).

¶ 21         Given the order on appeal affects a substantial right thereby granting

       appellate jurisdiction, we deny Plaintiff’s motion to dismiss the appeal. Because we

       have found Defendant has a right to appeal, we deny his PWC. We cannot grant a

       PWC based on Rule of Appellate Procedure 21 once we have found a right of appeal

       from an interlocutory order because the two are mutually exclusive. See Rule of

       Appellate Procedure 21(a)(1) (only allowing a writ of certiorari when, inter alia, “no
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       right of appeal from an interlocutory order exists”). Because we deny Defendant’s

       PWC, we also deny as moot his motion to amend the PWC. Having clarified the

       grounds for our jurisdiction and addressed the outstanding motions and petition, we

       turn to the merits of the case.

         III.     Deprivation of Due Process and Right to Presence of Counsel

¶ 22            Defendant first contends the trial court erred “in entering an order that

       patently violates [Defendant]’s constitutional rights by, among other things,

       prohibiting counsel from being physically present at depositions of their clients,

       witnesses they represent[,] and witnesses they designate as expert witnesses.”

       Specifically, Defendant argues the order infringed on its due process right to

       “retained counsel being present at critical stages of litigation” without substantial

       justification. (Capitalization altered.) Defendant further asserts prejudice from this

       error is presumed.

       A. Preservation

¶ 23            Before reaching Defendant’s substantive arguments, we address whether the

       issue was preserved.     Plaintiff contends Defendant waived its right to raise a

       constitutional argument on appeal by its failure to make this argument to the trial

       court. But Defendant responds it never had a chance to raise an objection or a

       constitutional argument regarding the trial court’s order that counsel not be allowed

       to be present with a witness or client during a deposition, as Plaintiff’s motion did
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       not request such a restriction and the trial court did not mention this restriction when

       rendering the ruling at the hearing on the motion. Defendant is correct, as the trial

       court’s order goes beyond the relief requested by Plaintiff by ordering restrictions on

       attendance at depositions and requiring that no attorney be present in the same room

       as a witness during a deposition. Plaintiff requested only that depositions be held by

       remote videoconference based upon Plaintiff’s counsel’s concerns regarding his own

       health and potential exposure to COVID-19 as well as restrictions on travel

       applicable to the deposition scheduled to be held in Chicago, Illinois. As a result,

       Defendant had no notice or opportunity to raise the issue of restrictions on its own

       counsel’s attendance. Until the trial court issued the order, Defendant had no reason

       to think such restrictions were forthcoming and would need to be the subject of an

       objection.

¶ 24         We also reject Plaintiff’s argument Defendant invited the error in this case.

       Plaintiff points to Defendant’s acceptance of the trial court’s discretion in the matter

       as invited error.    Plaintiff isolates a single phrase, but looking at the whole

       paragraph, it is clear Defendant acknowledged the court’s discretion in the context of

       arguing it should exercise that discretion to deny Plaintiff's motion and allow in

       person depositions to move forward:

                    It’s just not fair for him to be able to say yeah, those four
                    months of COVID, I want to dictate that you have to do
                    everything by videoconference, and you’re not going to be
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                    able to move the trial. It’s just patently unfair, Your Honor,
                    and we do agree -- the Court obviously has discretion, but
                    we would submit that that rule, if you look at how it’s
                    applied, has never been applied in this fashion, where Rule
                    30 was used to prevent -- at least as far as I’m aware of any
                    appellate case, to prevent in-person depositions.

       On top of this, the full quote above does not mention any restrictions on deposition

       attendance that Defendant allegedly invited, which it could not have done since those

       never came up at the hearing or at any time before the issuance of the written order

       on appeal. Thus, we reject both of Plaintiff’s arguments that Defendant failed to

       preserve the issue before us.

       B. Standard of Review

¶ 25         “As a general rule, we review the trial court’s rulings regarding discovery for

       abuse of discretion.” Myers v. Myers, 269 N.C. App. 237, 240, 837 S.E.2d 443, 447

       (2020); see also Hartman v. Hartman, 82 N.C. App. 167, 180, 346 S.E.2d 196, 203
       (1986) (indicating protective orders under Rule 26(c), the basis for Plaintiff’s motion,

       are subject to review for abuse of discretion). However, the restrictions imposed by

       the trial court in this case go beyond the typical discretionary matters involved with

       discovery orders.

¶ 26         For example, Rule of Civil Procedure 30(b)(7), upon which Plaintiff relied in

       arguing for remote depositions, allows a trial court upon a motion to order a

       deposition be taken by telephone. N.C. Gen. Stat. § 1A-1, Rule 30(b)(7) (2019). It
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       does not provide any guidance on whether a trial court could also bar a deposed

       party’s attorneys from being physically present with their own client during the call,

       which is the appropriate analogy to the court’s order here.

¶ 27         The general rule that de novo review is appropriate “in cases where

       constitutional rights are implicated,” as they are here, reinforces our determination

       that the de novo standard of review applies here. See Piedmont Triad Regional Water

       Authority v. Sumner Hills Inc., 353 N.C. 343, 348, 543 S.E.2d 844, 848 (2001) (“It is

       well settled that de novo review is ordinarily appropriate in cases where

       constitutional rights are implicated.”). Under the de novo standard of review, “the

       court considers the matter anew and freely substitutes its own judgment for that of

       the lower tribunal.” Cooper v. Berger, 256 N.C. App. 190, 193, 807 S.E.2d 176, 178
       (2017) (quoting Craig v. New Hanover Cty. Bd. of Educ., 363 N.C. 334, 337, 678 S.E.2d

       351, 354 (2009)); see also Parker v. Glosson, 182 N.C. App. 229, 231, 641 S.E.2d 735,

       737 (2007) (explaining de novo appeals involve the appellate court using the trial

       court’s record but reviewing the evidence and law “without deference to the trial

       court’s rulings” (quotations and citation omitted)).

       C. Analysis

¶ 28         Before analyzing the trial court’s order, we note it has three relevant elements.

       First, the trial court ordered that all depositions had to be held by remote

       videoconference. Second, the trial court ordered that no attorney and witness could
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       be present in the same room during a deposition. Third, the trial court imposed the

       same restrictions on all depositions without regard to where the deposition would be

       held or the particular circumstances of the deponent and counsel involved in a

       particular deposition.

¶ 29         The first of the two depositions in question in Plaintiff’s motion involved a

       doctor in Wake Forest, North Carolina, which would not involve substantial travel

       for counsel for either party. The other deposition was scheduled to be held in Chicago,

       and at the time, travel restrictions imposed by Chicago would have effectively

       prevented counsel from going to Chicago for the deposition, since anyone who

       travelled to the city would be required to quarantine for 14 days before being allowed

       to take the deposition in person. See Footnote 3, supra (explaining the relevant

       Chicago quarantine rules). And Defendant does not contend the trial court abused

       its discretion or violated any constitutional right by requiring the deposition of the

       expert witness in Chicago to be done by remote videoconference. That out-of-state

       deposition clearly presented different challenges than a deposition of a witness in

       North Carolina.

¶ 30         Despite only those two depositions being scheduled, our analysis includes

       potential depositions of Defendant’s employees and expert witnesses because the

       third part of the trial court’s order applied it to all depositions in the case. Plaintiff

       disputes this characterization, arguing “[t]he issue before the Court . . . only concerns
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       the taking of expert and non-Defendant witness depositions.”         To support that

       argument, Plaintiff contends she had already taken depositions “of the only two

       employees of Defendant who had any involvement in the Plaintiff’s care” and nothing

       in the record “disclosed that Plaintiff has expressed any intention to seek depositions

       of the corporate Defendant or other employees not involved in Plaintiff’s care.”

       Plaintiff’s argument amounts to a claim that the right to counsel’s presence issue is

       moot. See Lange v. Lange, 357 N.C. 645, 647, 588 S.E.2d 877, 879 (2003) (defining

       moot as when “a determination is sought on a matter which, when rendered, cannot

       have any practical effect on the existing controversy” (quoting Roberts v. Madison

       County Realtors Assn., 344 N.C. 394, 398–99, 474 S.E.2d 783, 787 (1996))).

¶ 31         Presuming arguendo a mootness concern, mootness doctrine has a number of

       exceptions including, inter alia, a party’s voluntary cessation of the challenged

       conduct and questions of public interest. Thomas v. North Carolina Dept. of Human

       Resources, 124 N.C. App. 698, 705, 478 S.E.2d 816, 820–21 (1996).           Voluntary

       cessation is an exception to mootness because of the risk the party could restart their

       offending practice once an appeal were dismissed. Id., 124 N.C. App. at 706, 478

       S.E.2d at 821.    Here, while Plaintiff says she would not have further deposed

       Defendant’s employees, circumstances can change and she could change her mind if

       this appeal were dismissed.      And Plaintiff still had not taken depositions of

       Defendant’s expert witnesses, who have not yet been designated.
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¶ 32         Alternately, “even if an appeal is moot, we have a duty to ‘consider a question

       that involves a matter of public interest, is of general importance, and deserves

       prompt resolution.’” In re Brooks, 143 N.C. App. 601, 605, 548 S.E.2d 748, 751 (2001)

       (quoting N.C. State Bar, 325 N.C. 699, 701, 386 S.E.2d 185, 186 (1989)). In the past,

       this Court and our Supreme Court have ruled the public interest exception applies

       based on the case involving issues of first impression, the gravity and “far reaching”

       nature of the issue, and significant public debate on the issue. Id., 143 N.C. App. at

       606, 548 S.E.2d at 752 (first impression, gravity); Chavez v. McFadden, 374 N.C. 458,

       468, 843 S.E.2d 139, 147 (2020) (public debate).

¶ 33         Here, the public interest exception applies because the issue of banning counsel

       from being present in-person with their clients during depositions is a matter of first

       impression with a potentially far-reaching effect.       The impact of COVID-19 and

       myriad restrictions imposed by various jurisdictions and entities is a still subject of

       significant public interest as demonstrated by a recent Proclamation from our Chief

       Justice on the subject. E.g. Proclamation, Supreme Court of North Carolina Chief

       Justice Paul Martin Newby, Restoration of Full Court Operations (Feb. 24, 2022)

       (recent proclamation advising judicial officials “to resume immediately full
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       courthouse operations”).5 As a result of these exceptions to mootness doctrine, the

       issue of attorney presence with Defendant’s representatives or witnesses during their

       depositions is properly before us.

¶ 34          In a similar vein to the mootness argument, Plaintiff contends the order on



       5 The Chief Justice’s Proclamation was distributed to the entire State judicial branch, but it

       is not formally published. Despite the lack of publication, courts are intended to use and rely
       on the proclamation in restoring full court operations. In recognition that the proclamation
       was not published, we reproduce its text in full here:
       “WHEREAS, Article I, Section 18 of the North Carolina Constitution provides that ‘[a]ll
       courts shall be open’ and that ‘justice shall be administered without favor, denial, or delay[;]’
       WHEREAS, the emerging COVID-19 pandemic necessitated the temporary suspension of
       some court operations in early 2020;
       WHEREAS, these limitations of court operations were extended multiple times throughout
       2020 by administrative orders;
       WHEREAS, I entered an order on 14 January 2021 allowing local court officials to resume
       in-person proceedings;
       WHEREAS, the Governor lifted all mass gathering limits on 14 May 2021 and announced
       that masking and social distancing requirements would no longer be needed in most places;
       and
       WHEREAS, I terminated all remaining emergency directives by an administrative order
       dated 7 June 2021;
       WHEREAS, federal and state officials have stated that COVID-19 will not be eliminated and
       that communities should return to their normal activities;
       WHEREAS, North Carolina is experiencing a significant decline in COVID-19 cases, vaccines
       remain readily available, and people are returning to normal daily life in other areas of
       society;
       WHEREAS, the Governor and state health officials have recently encouraged schools and
       local governments to end mask mandates and most municipalities and school boards have
       ended mask mandates;
       WHEREAS, some judicial districts are still limiting their court operations which impairs
       their ability to administer timely and impartial justice.
       NOW, THEREFORE, I advise all judicial officials to resume immediately full courthouse
       operations and administer justice without further delay as mandated by the North Carolina
       Constitution.”
       (Alterations in original.)
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       appeal “provided Defendant a mechanism to request a modification in the event

       Plaintiff’s counsel did seek additional depositions of Defendant or its employees.”

       (Italics removed.) Plaintiff’s argument rehashes the issue of whether the order on

       appeal is a final judgment or whether it is something less than final. We reject this

       argument because we have already ruled Defendant is entitled to an interlocutory

       appeal since the order on appeal affects a substantial right.

¶ 35          Turning to the primary issue, Defendant argues the trial court erred “by,

       among other things, prohibiting counsel from being physically present at dispositions

       of their clients, witnesses they represent and witnesses they designate as expert

       witnesses” because that infringes on Defendant’s due process right to “retained

       counsel being present at critical stages of litigation” without substantial justification.

       (Capitalization altered.)       Defendant then argues prejudice from this error is

       presumed. We agree with Defendant that the trial court’s order violated its rights

       under the Constitution of the United States’ Fourteenth Amendment’s Due Process

       Clause.6


       6 Defendant also argues the order violates its rights under the North Carolina Constitution.

       Defendant argues the order violates both Article I, Section 25’s right of jury trial in civil cases
       and Article I, Section 19’s “law of the land” clause. The “law of the land” clause “is
       synonymous with ‘due process of law’ as used in the Fourteenth Amendment,” In re Moore’s
       Sterilization, 289 N.C. 95, 98, 221 S.E.2d 307, 309 (1976), so we find a violation of Defendant’s
       rights under the North Carolina Constitution on the same grounds as the Fourteenth
       Amendment Due Process Clause violation. As a result of finding that violation, we do not
       reach Defendant’s argument the order violates his right to trial by jury under Article I,
       Section 25.
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¶ 36            We first note the relevant provisions of the Rules of Civil Procedure. Plaintiff’s

       motion was based upon Rules 26(c) and 30 of the North Carolina Rules of Civil

       Procedure. Under Rule 30(b)(7):

                      The parties may stipulate in writing or the court may upon
                      motion order that a deposition be taken by telephone. For
                      the purposes of this rule and Rules 28(a), 37(a)(1) and
                      45(d), a deposition taken by telephone is taken in the
                      district and the place where the deponent is to answer
                      questions propounded to him.

       N.C. Gen. Stat. § 1A-1, Rule 30(b)(7). Under Rule 26(c), a trial court has discretion,

       upon good cause shown, to enter orders to protect a party or person from

       “unreasonable annoyance, embarrassment, oppression, or undue burden or expense”

       including an order “(v) that discovery be conducted with no one present except

       persons designated by the court.” N.C. Gen. Stat. § 1A-1, Rule 26(c). This Court has

       noted:

                      In order to determine whether a party or deponent has
                      shown “good cause” for an order protecting him “from
                      unreasonable annoyance, embarrassment, oppression, or
                      undue burden or expense,” the trial court must consider the
                      specific discovery sought and the factual circumstances of
                      the party from whom discovery is sought. See, e.g.,
                      Guessford v. Pa. Nat’l Mut. Cas. Ins. Co., 2013 WL
                      2242988, *3, 2013 U.S. Dist. LEXIS 71636, *9–10
                      (M.D.N.C., May 21, 2013) (“Rule 26(c)’s requirement of a
                      showing of ‘good cause’ to support the issuance of a
                      protective order . . . contemplates a particular and specific
                      demonstration of fact[.]”) (quoting Jones v. Circle K Stores,
                      185 F.R.D. 223, 224 (M.D.N.C.1999) (internal quotation
                      omitted)), partial summary judgment granted in part and
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                     denied in part on other grounds, 963 F.Supp.2d 652, 2013
                     WL 5708053 (M.D.N.C. Oct. 18, 2013).

       In re Accutane Litigation, 233 N.C. App. 319, 323, 758 S.E.2d 13, 17 (2014).

¶ 37          The limitation on personal attendance of a deposition by counsel is unusual;

       no North Carolina case has previously addressed this type of limitation. Under Rule

       26, this type of limitation is normally intended to “protect the deponent from

       embarrassment or ridicule intended by the calling party.” Galella v. Onassis, 487

       F.2d 986, 997, n.17 (2d Cir. 1973). Very few federal cases address this type of

       limitation, but when imposed, the rationale normally has been the protection of the

       deponent from some sort of personal harassment or threat.

¶ 38          For example, in Gallela v. Onassis, under Rule 26(c) of Federal Rules of Civil

       Procedure, the trial court ordered that the plaintiff Mr. Gallela could not personally

       attend the deposition of defendant, Jacqueline Onassis, the widow of President John

       F. Kennedy, due to his long history of harassment of Ms. Onassis and the Kennedy

       family as a paparazzo and his violation of prior court orders.7 Id. at 991, 996–97. The

       United States Court of Appeals, Second Circuit, held the trial court acted within its

       discretion in excluding the plaintiff from Ms. Onassis’s deposition, noting:



       7 As the Court of Appeals noted, “Galella fancies himself as a ‘paparazzo’ (literally a kind of

       annoying insect, perhaps roughly equivalent to the English ‘gadfly.’) Paparazzi make
       themselves as visible to the public and obnoxious to their photographic subjects as possible
       to aid in the advertisement and wide sale of their works.” Galella, 487 F.2d at 991–92
       (footnote omitted).
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                    At the time the order was issued, Galella had already been
                    charged with violation of the court’s temporary restraining
                    order which was entered to protect the defendant from
                    further harassment. Such conduct could be deemed to
                    reflect both an irrepressible intent to continue plaintiff’s
                    harassment of defendant and his complete disregard for
                    judicial process. Anticipation of misconduct during the
                    examination could reasonably have been founded on either.

       Id. at 997. Certainly, this case presents a very different situation, but the trial court

       had discretion to address the circumstances of the depositions under Rule 26(c).

       Plaintiff did not claim to need protection from “unreasonable annoyance,

       embarrassment, oppression.” N.C. Gen. Stat. § 1A-1, Rule 26(c). Plaintiff’s concerns

       arose from “undue burden or expense” caused by health risks posed by COVID-19 and

       limitations on travel created by COVID-19 emergency orders. Thus, the trial court

       had discretion to enter an order limiting discovery under Rules 26 and 30, for good

       cause shown, but the question presented here is whether those limitations went so

       far as to infringe upon Defendant’s due process rights to representation by counsel in

       the depositions of its own employees and expert witnesses.

¶ 39         In pertinent part, the Fourteenth Amendment provides no state shall “deprive

       any person of life, liberty, or property, without due process of law.” U.S. Const.

       amend. XIV, § 1. This Court has previously recognized “that civil litigants have a due

       process right to be heard th[r]ough counsel that they themselves provide.” Tropic

       Leisure, 251 N.C. App. at 920, 923–24, 796 S.E.2d at 133, 135 (explaining the due
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       process right has been widely recognized and then finding a due process violation

       when a litigant had no opportunity to be represented by counsel in small claims court

       in a foreign jurisdiction).     Tropic Leisure also provides guidance for future

       explanations of the contours of the right. First, the Tropic Leisure Court lists “[a]

       number of state and federal courts” that “have expressly recognized this principle

       over the past few decades.” Id., 251 N.C. App. at 921, 796 S.E.2d at 133–34. Second,

       as pertinent here, the court explained the due process right to be heard through

       retained counsel includes assistance at “the critical fact-finding phase of the

       litigation.”   Id., 251 N.C. App. at 923, 796 S.E.2d at 135.      There “is simply no

       substitute for the opportunity to have his chosen counsel develop a factual record at

       trial.” Id. While Tropic Leisure focused on the trial context at issue in that case, its

       emphasis on the importance of access to the legal assistance of retained counsel in

       developing a factual record extends to the discovery context at issue here.

¶ 40          Our extension of the right to retained counsel in civil cases to the discovery

       context finds additional support in the federal cases to which Tropic Leisure cites.

       251 N.C. App. at 921, 796 S.E.2d at 133–34. In Danny B. ex rel. Elliott v. Raimondo,

       the First Circuit explained the “fundamental principle” that “[c]ivil litigants have a

       constitutional right, rooted in the Due Process Clause, to retain the services of

       counsel” and how that right “safeguards a litigant’s interest in communicating freely

       with counsel both in preparation for and during trial.” 784 F.3d 825, 831 (1st Cir.
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       2015); see also Tropic Leisure, 251 N.C. App. at 921, 796 S.E.2d at 133 (citing Danny

       B.). “After all, the right to retain counsel would be drained of meaning if a litigant

       could not speak openly with her lawyer about her case and how best to prosecute it.”

       Danny B., 784 F.3d at 831. Given Danny B.’s emphasis on safeguarding a litigant’s

       interest in communicating freely in preparation for trial, it further supports

       extending the due process right to retain counsel to the discovery context.

¶ 41          Another case cited by Tropic Leisure, Potashnick v. Port City Const. Co., 609

       F.2d 1101 (5th Cir. 1980), also supports Defendant’s position. See Tropic Leisure, 251

       N.C. App. at 921, 796 S.E.2d at 133–34 (citing Potashnick). In that case, the Fifth

       Circuit first provided a historical overview of how the right to retain counsel in civil

       litigation is implicit in the concept of due process. 8 Potashnick, 609 F.2d at 1117
       (citing Powell v. Alabama, 287 U.S. 45, 69, 53 S. Ct. 55 (1932)).9 The Potashnick

       Court further explained the Due Process Clause’s right to retain civil counsel reflects




       8 The Potashnick court relied on the Fifth Amendment Due Process Clause, but the promise

       of due process in that clause is the same as in the Fourteenth Amendment’s Due Process
       Clause. E.g. Malinski v. New York, 324 U.S. 401, 415, 65 S. Ct. 781, 788 (1945) (“To suppose
       that ‘due process of law’ meant one thing in the Fifth Amendment and another in the
       Fourteenth is too frivolous to require elaborate rejection.”).
       9 While Powell was a criminal case, its decision “was based on the due process clause rather

       than the Sixth Amendment (which had not yet been held applicable to the states), and its
       logic embraces civil litigation.” Guajardo-Palma v. Martinson, 622 F.3d 801, 803 (7th Cir.
       2010). This distinction between the Due Process Clause’s right to civil counsel and the Sixth
       Amendment’s right to criminal counsel also leads us to reject Defendant’s argument that “the
       well recognized constitutional right to have counsel physically present in criminal cases
       applies to this case.” (Capitalization altered.)
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       that “the litigant usually lacks the skill and knowledge to adequately prepare his

       case, and he requires the guiding hand of counsel at every step in the proceedings

       against him.”    Id. at 1118 (emphasis added).            Thus, Potashnick also supports

       extending the right to discovery proceedings.

¶ 42         Based on Tropic Leisure and the cases upon which it relied, we hold the due

       process right to retain and have counsel heard in civil cases extends to having the

       assistance of retained counsel at depositions. Tropic Leisure and the federal cases it

       relied upon emphasize the importance of having retained counsel’s assistance

       throughout the legal process including fact-finding phases such as discovery. See

       Tropic Leisure, 251 N.C. App. at 923, 796 S.E.2d at 135 (emphasizing the importance

       of retained counsel’s assistance with fact-finding phase of litigation); Danny B., 784

       F.3d at 831 (highlighting the need to freely communicate with counsel in preparation

       for trial); Potashnick, 609 F.2d at 1118 (explaining a litigant “requires the guiding

       hand of counsel at every step in the proceedings”) (emphasis added); see also King v.

       Koucouliotes, 108 N.C. App. 751, 755, 425 S.E.2d 462, 464 (1993) (explaining one

       purpose of discovery is to sharpen factual issues for trial).

¶ 43         As Defendant asserts, discovery is a particularly pertinent stage to ensure the

       right to assistance of retained counsel in civil cases because depositions can be used

       at trial to impeach witnesses or even in place of witness testimony in certain

       circumstances. See N.C. Gen. Stat. § 1A-1, Rule 32(a) (listing ways depositions can
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       be used at trial or at hearings for motions). Rule 32(a)(3) is particularly significant

       because it allows the deposition of an organizational representative under Rule

       30(b)(6) or 31(a) to be “used by an adverse party for any purpose, whether or not the

       deponent testifies at the trial or hearing” and Defendant here is an organization. Id.,

       Rule 32(a)(3). Thus, the assistance of retained counsel at depositions supports the

       core right to have retained counsel at trial.

¶ 44         While it extends to depositions, the due process right to the assistance of

       retained counsel in civil cases has limits. See Adir International, LLC v. Starr

       Indemnity and Liability Company, 994 F.3d 1032, 1040 (9th Cir. 2021) (explaining

       the “narrow scope of the due process right to retain counsel” by contrasting it to the

       Sixth Amendment’s “much more robust” right to counsel and by looking to the

       “original public meaning of the term ‘due process’”).

¶ 45         We find the approach in Danny B to analyzing the boundaries of the due

       process right persuasive: “[A] court may not restrain a litigant’s access to counsel

       without some substantial justification, and any such restraint should be narrowly

       tailored to respond to the concern that prompted it.” Danny B., 784 F.3d at 832. We

       find this test persuasive for two reasons.        First, the examination’s focus on a

       substantial interest and narrow tailoring involve a heightened scrutiny analysis

       common in the area of due process, albeit in a substantive rather than procedural

       sense. See, e.g., M.E. v. T.J., 275 N.C. App. 528, 549–51, 854 S.E.2d 74, 95–96 (2020)
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       (explaining the interrelation between substantive and procedural due process before

       explaining state action encroaching on fundamental rights triggers strict scrutiny

       analysis as part of substantive due process), aff’d, 2022-NCSC-23.10                Second, it

       ensures a case and fact-specific analysis of the due process issues. See Anderson v.

       Sheppard, 856 F.2d 741, 749 (6th Cir. 1988) (explaining the importance of focusing

       on “the circumstances present in every case” when determining whether a litigant’s

       due process rights to retain counsel were violated) (quotations and citation omitted).

¶ 46          Here, the issue is slightly more nuanced than just whether there is a due

       process right to retained counsel at depositions that we recognized above. The trial

       court order does not ban litigants from having counsel at their depositions; it bans

       deponents from having counsel physically present in the same space as them. In this

       case, the trial court’s order banning retained counsel from being physically present

       with their client during depositions, without consideration of the circumstances of the

       particular deposition or preferences of the deponent and attorney involved in the


       10  Danny B.’s test blends two versions of heightened scrutiny. It draws the substantial
       government interest from First Amendment law. See Malecek v. Williams, 255 N.C. App.
       300, 307, 804 S.E.2d 592, 598 (2017) (explaining content-neutral laws will be upheld if
       “narrowly drawn to further a substantial governmental interest . . . .” (quoting Clark v. Cmty.
       For Creative Non-Violence, 468 U.S. 288, 294, 104 S. Ct. 3065 (1984))). It draws the narrow
       tailoring requirement from strict scrutiny, which applies to substantive due process claims,
       among others. See, e.g. State v. Fowler, 197 N.C. App. 1, 21, 676 S.E.2d 523, 540 (2009) (“If
       the right is constitutionally fundamental, then the court must apply a strict scrutiny analysis
       . . . .”); Washington v. Glucksberg, 521 U.S. 702, 721, 117 S. Ct. 2258, 2268 (1997) (explaining
       the Fourteenth Amendment protects fundamental liberty interests “unless the infringement
       is narrowly tailored to serve a compelling state interest”) (quotations and citation omitted).
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       deposition, violates the Due Process Clause.

¶ 47         The reasoning supporting the due process right to retained counsel at

       depositions in general supports a narrower right to have counsel physically present.

       Danny B. emphasizes a “litigant’s interest in communicating freely with counsel.”

       784 F.3d at 831. Further, Potashnick recognizes a litigant “requires the guiding hand

       of counsel at every step in the proceedings against him.” 609 F.2d at 1118. In the

       context of depositions, an attorney may need to step in to object to the form or

       substance of questions or even to protect privileged material. The attorney’s role in

       protecting privileged material is especially important because privileges aim to

       ensure privileged information is never revealed to the other side. See N.C. Gen. Stat.

       § 1A-1, Rule 26(b)(1) (stating privileged material is not discoverable).      In these

       situations, an attorney’s physical presence provides greater protection to a client than

       interacting remotely.

¶ 48         As Defendant contends, some deponents are more skilled at using the

       technology required for a remote deposition than others; some may require in-person

       assistance even to set up and operate the computer, camera, and microphone. Or a

       technological glitch could occur when counsel was trying to tell her client not to

       answer a question on the ground of privilege, thereby risking the privileged

       information is disclosed in spite of Rule 26(b)(1)’s protections from discovery. The

       attorney and deponent should normally be able to make their own decision of their
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       physical proximity during a deposition. An attorney may choose to participate apart

       from her client, but a court order forcing an attorney to participate remotely,

       physically apart from the client, implicates the client’s due process rights.

¶ 49         Our conclusion is reinforced by persuasive caselaw from other jurisdictions

       that emphasize allowing a litigant’s counsel to participate in-person in depositions

       helps ensure effective representation. In a pre-pandemic case, Redmond v. Poseidon

       Personnel Services, S.A., the trial court found denying a corporate client “the

       opportunity to have its attorney present during the Rule 30(b)(6) deposition would

       inhibit defense counsels’ duty to effectively and competently represent their foreign

       clients.” 2009 WL 3486385, *3, 2009 U.S. Dist. LEXIS 104749, *10 (E.D. La. 2009).

       Similarly in State v. Purdue Pharma L.P., issued in August 2020, close in time to

       when the dispute here occurred, the trial court relied on Redmond’s emphasis on the

       greater effectiveness of counsel in person in determining deponents “should still have

       access to in-person counsel if they wish.” 2020 R.I. Super. LEXIS 69, *5–6 (R.I.

       Superior Ct. 2020).    While these cases do not rely on the Due Process Clause

       specifically, they support the overall point that in-person access to counsel has

       benefits over counsel merely participating in depositions remotely apart from their

       clients. As a result, the trial court’s order banning litigants’ attorneys from assisting

       in person at all depositions, which could include depositions of their clients, without

       any consideration of the circumstances of the particular deposition, implicates
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       Defendant’s due process rights as laid out above.

¶ 50         Given Defendant’s due process rights are implicated here, we conduct the

       interest and tailoring inquiry adopted from Danny B.      Presuming arguendo the

       COVID-19 pandemic constitutes a substantial interest, the trial court order barring

       attorneys from attending a deposition in person with their own clients and witnesses

       during otherwise remote depositions was in error because it was not narrowly

       tailored. The trial court could have used a less restrictive approach to achieve the

       same outcomes. See Doe v. District of Columbia, 697 F.2d 1115, 1120 (D.C. Cir. 1983)

       (explaining narrow tailoring means that there were no means less restrictive of a

       party’s access to their lawyer); see also Danny B., 784 F.3d at 832 (citing Doe when

       announcing its narrow tailoring requirement).

¶ 51         Here, Plaintiff’s motion sought remote depositions due primarily to her

       counsel’s personal health concerns.    The trial court could have allowed remote

       depositions to account for the health concerns of Plaintiff’s counsel without also

       preventing Defendant’s counsel and parties who may not have the same health

       concerns from being together during a deposition. Further, to the extent Plaintiff’s

       motion was based on travel restrictions, the trial court could have also made clear
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       there was no need for Plaintiff’s counsel or witness to travel.11 Again, that measure

       could have been taken without barring Defendant’s counsel and willing witnesses

       from traveling to attend depositions together in the future. Since the trial court

       possessed less restrictive means at its disposal to achieve the same goals, it did not

       narrowly tailor its restriction on Defendant’s due process rights to retained counsel

       and to have retained counsel physically present.

¶ 52          Further, the trial court erred because it failed to consider the specific

       circumstances of the particular witnesses and locations at issue. See Anderson, 856

       F.2d at 749 (emphasizing the need to focus on “the circumstances present in every

       case” when determining whether a litigant’s due process rights to retain counsel were

       violated). For example, Chicago had travel restrictions due to COVID-19 that made

       it impossible, in practice, for the attorneys to travel there because they would have

       had to quarantine for 14 days upon arrival.            See Footnote 3, supra (explaining

       Chicago’s COVID-19 travel restrictions at the time). In that situation, the trial court

       could allow a remote deposition, and it also would not have impacted Defendant’s

       right to retained counsel because it was a deposition of one of Plaintiff’s experts.

       However, the other deposition of a local doctor in Wake Forest would not have raised



       11 Defendant notes that Plaintiff selected her expert witness in Chicago prior to the pandemic.

       Plaintiff would have been aware of the potential expenses for travel when she selected the
       expert and the pandemic did not change this factor; the pandemic only made travel
       impractical at the time that deposition was scheduled in July 2020.
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                                            Opinion of the Court



       the same concerns because North Carolina did not have state or local travel

       restrictions for in-state residents such as the parties’ counsel. See Crawford v. Blue

       Ridge Metals Corporation, 2020 WL 4001093, *2–3, 2020 U.S. Dist. LEXIS 125918,

       *5–7 (W.D.N.C. 2020) (federal case denying a litigant’s motion for remote depositions

       in partial reliance on the fact that the deposition would comply with all state and

       local public health guidelines, which would therefore have not banned in-person

       depositions since North Carolina was in phase two of reopening). Further, none of

       the executive orders or emergency directives from the Chief Justice noted above

       restricted in-person depositions.

¶ 53         In addition to those two depositions, which were the basis of Plaintiff’s motion,

       the trial court entered an order affecting “any and all depositions” in the case without

       regard for possible changes in circumstances arising from the COVID-19 pandemic.12

       The trial court’s order came at a time before vaccines were available, but by Spring

       2021 vaccines became available for any adults who wanted them. E.g. Governor

       Cooper Announces Accelerated Timeline for Vaccination Eligibility, North Carolina

       Governor    Roy    Cooper    (Mar.    25,    2021),    https://governor.nc.gov/news/press-

       releases/2021/03/25/governor-cooper-announces-accelerated-timeline-vaccination-




       12Indeed, Defendant does not contend the trial court order would have presented any
       constitutional issue if it had addressed only the two depositions addressed by Plaintiff’s
       motion, of Plaintiff’s expert witnesses, even with the same limitations on attendance.
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                                          Opinion of the Court



       eligibility (announcing all adults would be eligible for vaccines by 7 April 2021).

¶ 54         The impact of COVID-19 on the operations of the courts has also changed in

       the time since the trial court entered its order. For example, when the trial court

       entered its order on 14 July 2020, sixteen emergency directives issued by the Chief

       Justice were in effect to address the impact of COVID-19 on the courts. Order of the

       Chief Justice Extending Emergency Directives 2 to 8 (29 June 2020) (extending

       emergency directives 2 to 8 until 29 July 2020); Order of the Chief Justice Extending

       Emergency Directives 9 to 16 (20 June 2020) (extending emergency directives 9 to 16

       until 20 July 2020); Order of the Chief Justice Extending Emergency Directives 18

       (29 June 2020) (extending emergency directive 18 until 24 July 2020). Less than a

       year later, the Chief Justice had revoked the final emergency directive. See Order of

       the Chief Justice Revocation of the June 7 Order (21 June 2021) (“No more Emergency

       Directives remain in place.”).

¶ 55         Recently, the Chief Justice issued a proclamation that all judicial officials

       should “resume immediately full courthouse operations and administer justice

       without further delay as mandated by the North Carolina Constitution.”

       Proclamation, Restoration of Full Court Operations, supra; see also Footnote 5, supra

       (providing full text of proclamation). The trial court could not be expected to foresee

       these developments, but it erred by restricting Defendant’s right to the presence of

       retained counsel at all depositions without regard to the circumstances of a particular
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                                           Opinion of the Court



       deposition and without allowance for changes in the restrictions related to COVID-

       19.

¶ 56            Finally, as to its constitutional rights argument, Defendant argues “prejudice

       is presumed in this case.” (Capitalization altered.) We agree. As Danny B. explained,

       denial of the right to assistance of retained counsel frustrates the right to counsel,

       which “is a right of the highest order of importance.” 784 F.3d at 834. As such,

       prejudice “can fairly be presumed.” Id. Given we have found the trial court order

       here failed the test from Danny B., prejudice can be fairly presumed. On de novo

       review, the trial court erred in ordering the witnesses had to be physically separate

       from their attorneys during all depositions.

                    IV.    Motion to Amend Discovery Scheduling Order

¶ 57            In addition to his constitutional argument, Defendant asserts the trial court

       erred by denying its motion to amend the Discovery Scheduling Order. We do not

       need to address this argument. The trial court’s order denying the motion to amend

       the DSO to continue the scheduled trial was made “without prejudice to address these

       issues in the future.” The DSO set the trial date for 8 February 2021, which has

       obviously passed due to the delay from this appeal. On remand and consistent with

       this opinion, the trial court will have to address the discovery and trial schedule

       again.

                                         V.     Conclusion
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                                            Opinion of the Court



¶ 58         After de novo review, we hold the trial court erred by ordering counsel could

       not be in the physical presence of their own witnesses or clients during remote

       depositions, without consideration of the particular circumstances of the deposition’s

       timing, location, or persons involved, because this restriction violates Defendant’s due

       process right to retained counsel.

¶ 59         Because the trial date in the original Discovery Scheduling Order has already

       passed, we do not address Defendant’s argument the trial court erred in denying,

       without prejudice, his motion to continue the trial date. On remand, the trial court

       must address the discovery schedule and trial date.

             REVERSED AND REMANDED.

             Judge TYSON concurs.

             Judge DILLON dissents.
        No. COA20-864 – Hall v. Wilmington Health, PLLC


             DILLON, Judge, dissenting.


¶ 60         Plaintiff commenced this malpractice suit in 2019. In July 2020, during the

       early days of the COVID-19 pandemic, the trial court entered an order, directing that

       depositions be taken remotely and that no counsel be allowed to be physically present

       with any deponent. The next month, in August 2020, Defendant appealed this order,

       specifically the directive prohibiting any counsel to be in the same room as the

       deponent. In December 2020, Plaintiff filed her motion to dismiss the appeal so that

       the matter could proceed in the trial court. The matter was ultimately heard by our

       Court in September 2021.

¶ 61         The majority concludes that Defendant’s appeal, though interlocutory, affects

       a substantial right. The majority further concludes that the trial court’s order should

       be reversed, contending that the order violates Defendant’s due process rights. I

       disagree on both counts. My vote is to grant Plaintiff’s motion to dismiss based on

       my conclusion that the discovery order is interlocutory and does not affect a

       substantial right (and I would not grant Defendant’s PWC). Even if the order does

       affect a substantial right, I do not see how that right was forever lost by the order.

¶ 62         The majority cites numerous cases for the proposition that a party has a due

       process right to counsel at depositions. I do not disagree. But these cases are not

       relevant to this appeal, as there is nothing in the appealed order prohibiting

       Defendant’s counsel to be present and fully participate in depositions, albeit remotely.
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¶ 63         And I do not believe that the order’s prohibition of Defendant’s counsel to be

       physically present in the same room as any deponent violates Defendant’s due process

       rights, which is the basis of Defendant’s “substantive right” argument.

¶ 64         The majority recognizes that this issue is one of first impression in North

       Carolina. The majority then cites the Redmond case, a pre-COVID-19 case from a

       federal court in Louisiana, and the Purdue case, a 2020 case from Rhode Island, to

       support its position. See Redmond v. Poseidon Pers. Servs., S.A., 2009 U.S. Dist.

       LEXIS 104749 (E.D. La. Oct. 19, 2009); see also State v. Purdue Pharma L.P., 2020

       R.I. Super. LEXIS 69 (R.I. Super. Ct. Aug. 18, 2020). The majority, though, fully

       recognizes that neither case was decided on due process grounds. Further, in Purdue,

       the court recognized that there was no absolute right to have counsel present, leaving

       open the door for the trial court to require depositions to proceed if there was some

       pandemic-based barrier to prevent counsel from being able to be physically present

       in the deponent’s location. Purdue, 2020 R.I. Super. LEXIS 69, at *6. Of Redmond,

       another federal court during the height of the COVID-19 pandemic found the pre-

       COVID-19 Redmond decision distinguishable:

                    The Court is not blind to nor is it ignoring the very real
                    challenges involved in conducting remote video depositions
                    in a case like this with so many parties and lawyers. But
                    unless the Court is going to stay all depositions that cannot
                    proceed by agreement (whether in-person or remotely)
                    until there is a cure or a vaccine for COVID-19, or
                    something approaching so-called herd immunity, which it
                    is unwilling to do on a blanket basis, the parties and their
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                                       DILLON, J., dissenting



                    counsel are going to have to . . . adapt, make some choices,
                    be creative, and compromise in this and every other case in
                    which they are involved during this time without modern
                    precedent.

       WCR, Inc. v. W. Can. Plate Exchanger, Ltd., 2020 U.S. Dist. LEXIS 236820, at *7

       (S.D. Ohio Dec. 16, 2020) (quoting In re Broiler Chicken Antitrust Litig., 2020 U.S.

       Dist. LEXIS 111420, at *5 (N.D. Ill. June 25, 2020)).

¶ 65         Even if there is some implication of due process rights, there is no showing that

       the order risks this substantial right being lost without an immediate appeal. I note

       the majority’s concern of some risk that a deponent might divulge confidential

       information without their attorney being in the same room. However, other courts

       have considered similar issues and have demonstrated that a party is not unduly

       prejudiced by not having counsel in the same room to defend a deposition:

                    Plaintiffs argue that they should have the option to be in
                    the same room with their individually named clients or any
                    willing third-party witness while the deposition is taken.
                    Even in those situations, Plaintiffs have made no showing
                    of prejudice or hardship to counsel that cannot be overcome
                    when participating remotely along with all other
                    participants. While the Court appreciates the role of
                    counsel in defending a witness during a deposition,
                    counsel’s role during a deposition is limited. Defense
                    counsel can carefully listen to questions and make
                    appropriate objections, and they can still do this remotely.
                    The parties are encouraged to develop protocols to address
                    any concerns with the process for making objections or
                    instructing a witness not to answer. For example, other
                    courts have addressed the issue of how to allow for a
                    witness to pause before answering questions when being
                    deposed remotely to allow for their attorney to consider
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                                         DILLON, J., dissenting



                    whether to lodge any objections.          Further, remote
                    deposition protocol can provide for more frequent breaks if
                    needed, and counsel can connect with their clients or
                    witnesses in a private virtual “breakout room” or by a
                    separate remote connection during those breaks.

       H &amp; T Fair Hills, Ltd. v. All. Pipeline L.P., 2020 U.S. Dist. LEXIS 167074, at *9-10

       (D. Minn. Sept. 14, 2020) (internal citation omitted). In In re Broiler, the court

       described a process which could be followed to ensure that confidential information

       would not be accidentally divulged by a deponent:

                    [T]o guard against a witness answering a question when
                    the technology prevents the witness’s counsel, who like the
                    witness is participating in the deposition remotely and
                    from a different location, from lodging an objection or
                    instructing the witness not to answer the question, the
                    parties might consider adopting a convention that would
                    allow a witness to answer a question only after the lawyer
                    defending the deposition says the witness can answer. A
                    simple, “you may answer” would suffice. The Court is
                    confident the parties can come up with other conventions
                    that can make the taking and defending of remote
                    deposition more palatable.

       In re Broiler, 2020 U.S. Dist. LEXIS 111420, at *85 n.3.

¶ 66         Though not directly on point, the Federal Rules of Civil Procedure expressly

       allow a court to order that a deposition be taken by telephone. Fed. R. Civ. P. 30(b)(4).

       In a federal case from North Carolina, a court held that “[i]n civil cases, the better

       rule is that a request for a telephonic deposition should not be denied on the mere

       conclusory statement that it denies the opportunity for face-to-face confrontation.”

       Jahr v. IU Int’l Corp., 109 F.R.D. 429, 432 (M.D.N.C. 1986).
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                                        DILLON, J., dissenting



¶ 67         Reaching the merits of the appeal, for the reasons stated above, I do not believe

       that the trial court’s order violated Defendant’s due process rights. And while I might

       not have entered a similar order if I were the trial judge, I do not believe Defendant

       has adequately shown how the trial court abused its discretion in entering the order.

¶ 68         In conclusion, I simply do not see a substantial right, much less one that would

       have been forever lost without an immediate appeal, to justify essentially putting this

       case on hold for over a year and a half to resolve this discovery issue.
